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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PFIZER, INC.,                             :
                                          :   CIVIL ACTION
           Plaintiff                      :
                                          :
     Vs.                                  :   NO. 17-CV-4180
                                          :
JOHNSON & JOHNSON and                     :
JANSSEN BIOTECH, INC.,                    :
                                          :
            Defendants                    :



                                  ORDER


     AND NOW, this     1st      day of July, 2020, upon

consideration of the Uncontested Joint Motion of Defendants

Johnson & Johnson and Janssen Biotech, Inc. and Non-Party Blue

Cross and Blue Shield of Massachusetts, Inc. (BCBSMA) to Compel

Production (Doc. No. 148) and it appearing to the Court that

BCBSMA consents to jurisdiction for this purpose, that Plaintiff

has not filed any response or objection thereto and that good

cause exists for the relief requested in the said Motion, it is

hereby ORDERED that the Motion is GRANTED and BCBSMA is DIRECTED

to produce all responsive documents sought by Request No. 14 in

the subpoenas served by Defendants on BCBSMA on May 31, 2019,

subject to the terms otherwise agreed to by the Defendants and

BCBSMA.
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     IT IS FURTHER ORDERED that nothing in this Order shall

supersede any agreements between Defendants and BCBSMA regarding

the production of said documents.


                                       BY THE COURT:



                                       s/ J. Curtis Joyner
                                       ___________________________
                                       J. CURTIS JOYNER,     J.
